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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       Case No. 1:21-cr-492 (RDM)
       v.                                     :
                                              :
JEREMY GRACE,                                 :
                                              :
                Defendant.                    :

                          GOVERNMENT’S RESPONSE TO
                MINUTE ORDER RE. PRESS COALITION’S APPLICATION
                   FOR ACCESS TO DEFENDANT’S VIDEO EXHIBITS

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this response to the Court’s September 1, 2022,

Minute Order regarding an application filed by a group of media entities (“the Press Coalition”)

that seeks access to two video recordings the defendant submitted to the Court in connection with

his sentencing memorandum, labeled Exhibit G and Exhibit H. In its September 1, 2022, Minute

Order, this Court ruled, “To ensure prompt public access to judicial records, the Court will

simultaneously direct that Defendant prepare a redacted version of Exhibit G, which obscures the

images of Defendant's minor children and redacts their names and other personally identifying

information. Defendant has failed to demonstrate, however, that the portions of Exhibit G in which

any adults appear should be withheld, and the Court will, with the assistance of the U.S. Attorney's

Office, make a redacted version of Exhibit G publicly available. Finally, the Court will decide

whether all (or portions) of Exhibit H should be released after the government has the opportunity

to be heard.”

       Exhibit H is a five-minute video consisting of CCTV footage depicting Mr. Grace’s (and

other individuals’) movements inside the Rotunda of the U.S. Capitol Building on January 6, 2021.



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This CCTV footage was designated by the government as “highly sensitive” and produced in

discovery to the defense, subject to the protective order that has been entered in this case.

Notwithstanding that, under these circumstances, the government does not object to the release of

Exhibit H in its entirety.



                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            UNITED STATES ATTORNEY



                                     By:    /s/Mona Sedky
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